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                                    #1031


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

NICOLE M. BOWLINE, et al.,

      Defendants.                                        No. 04-CR-30029-DRH


                                    ORDER


HERNDON, District Judge:



            Now before the court is a Motion to Continue Sentencing Hearing filed

by defendant Nicole Bowline (Doc. 315). The Court GRANTS defendant Bowline’s

Motion (Doc. 315) and CONTINUES the sentencing hearing scheduled for September

21, 2007 at 9:30 a.m. to January 18, 2008 at 2:30 p.m.

            IT IS SO ORDERED.

            Signed this 11th day of September, 2007.


                                                   /s/    DavidRHerndon
                                                   United States District Judge
